           Case 1:18-cv-02610-TJK Document 18 Filed 11/15/18 Page 1 of 2
                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CABLE NEWS NETWORK, INC. and ABILIO                      :
 JAMES ACOSTA,                                            :
                                                          :        CIVIL ACTION
                                          Plaintiffs,     :
                                                          :
                            v.                            :        NO. 1:18-CV-02610-TJK
                                                          :
 DONALD J. TRUMP, in his official capacity as               :
 President of the United States; JOHN F. KELLY, in          :
 his official capacity as Chief of Staff to the President :
 of the United States; WILLIAM SHINE, in his                :
 official capacity as Deputy Chief of Staff to the          :
 President of the United States; SARAH                      :
 HUCKABEE SANDERS, in her official capacity as              :
 Press Secretary to the President of the United States; :
 the UNITED STATES SECRET SERVICE;                          :
 RANDOLPH ALLES, in his official capacity as                :
 Director of the United States Secret Service; and         :
 JOHN DOE, Secret Service Agent, in his official           :
 Capacity,                                                :
                                                          :
                                        Defendants        :

      MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF OF ONE AMERICA
        NEWS NETWORK IN OPPOSITION TO PLAINTIFFS’ MOTIONS FOR A
       TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Proposed amicus curiae, One America News Network (“OAN”), respectfully moves this

Court under Local Civil Rule 7(o) for leave to file its Amicus Curiae Brief in Opposition of Plaintiffs’

Motions for a Temporary Restraining Order and Preliminary Injunction. The proposed brief is filed

simultaneously with this Motion.

1.     This Court “has broad discretion to permit . . . participat[ion] [of] amici curiae,” and amicus

participation is appropriate where amici have “relevant expertise and a stated concern for the issues

at stake in [the] case.” Dist. of Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237

(D.D.C. 2011). An amicus brief should “’be allowed when . . . the amicus has unique information or

perspective that can help the court beyond the help that the lawyers for the parties are able to

provide.’” Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003) (quoting Ryan v. Commodity

Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)).

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2.       OAN is a 24/7 national cable network with reporters and videographers covering the White

House daily. One America News Network provides live coverage daily and its Chief White House

Correspondent covers briefings on a regular basis.

3.       OAN’s amicus curiae brief is filed in support of Defendants and in opposition to Plaintiffs’

Motions for Temporary Restraining Order and Preliminary Injunction.

4.       The amicus curiae brief sub judice is intended to, inter alia, highlight the unreasonable and

disruptive behavior of CNN’s Chief White House Correspondent, Plaintiff ABILIO JAMES ACOSTA,

and how his specific conduct hinders other reporters from gaining access to Administration leadership to

ask questions. OAN, with staff reporting each day from the White House is uniquely qualified to provide

this Court with information and insight based on its experience and mission in covering the White

House.

4.       OAN is filing now under this expedited time frame because the Court has announced that it

intends to rule on the pending temporary restraining order motion in the immediate future.

         Respectfully submitted his 15th day of November 2018.
                                              s/ W. Bruce DelValle             .
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                                              Bruce Fein, Esquire
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                                              Counsel for Amicus Curiae One America News
                                              Network.

                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2018, I electronically filed the foregoing Motion for
Leave to File Amicus Curiae Brief of One America News Network in Opposition to Plaintiffs’
Motions for a Temporary Restraining Order and Preliminary Injunction in Case No: 18-CV-02610-
TJK, with the Clerk of the U.S. District Court for the District of Columbia by using the CM/ECF
system, which will serve all registered CM/ECF users.
                                            /s/ W. Bruce DelValle                              .
                                            W. Bruce DelValle, Bar No: 1520906

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